       Case 1:20-mc-00200-JAO-KJM Document 5 Filed 05/28/20 Page 1 of 3                                                            PageID #: 40
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Pennit Inspection of Premises in a Civil Action


                                       UNITED S TATES DISTRICT COURT
                                                                           for the
                                                                  District of Hawaii

       In Re Subpoena to Domains by Proxy, LLC
                                                                              )
                               Plaintiff                                      )
                                 V.                                           )        Civil Action No. MC 20-00200 JAO-KJM
                                                                              )
                                                                              )
                              Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                            Compliance Department, Domains by Proxy, LLC
                                              14455 North Hayden Road, Scottsdale, Arizona 85260
                                                       (Name ofperson to whom this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Name, address, telephone number, payment details and email address for the (a) registrant, (b )administrative
          contact and (c) the technical contact of each of the domain owner(s) of: https://moviebox.online/ ;
          https://movieboxpro.online/ ; http://movie-box-app.com/ ; AND https://movieboxpro.org/tag/moviebox-pro/

 Place: kculpepper@culpepperip.com                                                      Date and Time:
        Kerry S . Culpepper; 75-170 Hualalai Road, Su ite 8204                                               0612912020 4:35 pm
        Kailua Kona , HI 96740

     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

IPlace                                                                                IDate and Time

       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.


                                                                                     ~
Date: May 28, 2020
                                   LIAN ABERNATHY
                                   CLERK OF COURT                                    ~

                                 !SI LIAN ABERNATHY, by J.1., Deputy Clerk
                                           Signature ofClerk or Deputy Clerk                                          Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                  42 Ventures, LLC
- - - - - - - - - - - - - - - - - - - - - - - - - - , who issues or requests this subpoena, are:
Kerry Culpepper, 75-170 Hualalai Rd, #8204, Kailua-Kona, HI 96740; T 808-464-4047; kculpepper@culpepperip.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                               PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name ofindividual and title, if any)
on (date)


            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                       for travel and $                             for services, for a total of$                 0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signaiure



                                                                                                 Printed name and title




                                                                                                    Server's address


Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (ii) disc losing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
 (1) For a Trial, Het1ri11g, or Deposition. A subpoena may command a                srudy that was not requested by a parry.
person to attend a trial, hearing, or deposition only as follows:                      (C) Specifj1i11g Conditions as an Alternative. In the circumstances
   (A) within l 00 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regu larly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly         cond itions if the serving party:
transacts business in person, if the person                                               (i)   show~   a substantial need for the testimony or material that cannot be
    (i) is a party or a party's officer; or                                         otherwise met without undue hardship; and
    (ii) is commanded to attend a trial and would not incur substancial                  (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                    (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, e lectronically stored infom1ation, or               (1) Produci11g Documents or J::tectronically Stored Jnformation. These
tangible things at a plac.e within 100 miles of where the person resides, is        proc.edures apply to producing documents or electrnnically stored
employed, or regularly transacts business in person; and                            infonnation:
   (B) inspection of premises at the premises to be inspected.                         (A) Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
(d) P1·otecting a P erson Subject to a Subpoena ; Enfo1·cement.                     must organize and label them to correspond to the categories in the demand.
                                                                                       (B) Form for Producing Electronicol/y Stored Informofion Not Specified.
 (1) A"oiding U111/ue B11rtle11 or Expense; So11ctio11s. A party or attorney        If a subpoena does not specify a fom1 for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps           infonnation, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the                which it is ordinarily maintained or in a reasonably usable form or fonns.
subpoena. The court for the district where compliance is required must                 (C) Electronical~y Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction- which may include             person responding need not produc.e the same e lectronically stored
lost earn ings and reasonable attorney's fe.es-on a party or attorney who           infomiation in more than one fo1m.
fails to comply.                                                                       (D) Inaccessible Electronically Slored Information. The person
                                                                                    responding need not provide discovery of electronically stored infonnation
 (2) Command to Produce Materials or Permit J11spectio11.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                       of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored infonnation, or tangib le things, or to            order, the person responding must show that the infom1ation is not
permit the inspection of premises, need not appear in person at the place of        reasonably accessible because of undue burden or cost. If that showing is
production or inspection un less also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                  requesting pany shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible              26(b)(2)(C). 111e court may specify conditions for the discovery.
things or to pennit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or             (2) Cuii111i11g Privilege or Protectio11.
sampling any or all of the materials o r to inspecting the premises-or to            (A) information Withheld. A person withholding subpoenaed infonuation
producing electronically stored information in the forn1 or fonns requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for           material must:
compliance or 14 days after the subpoena is served. If an objection is made,             (i) expressly make the claim; and
the following mies apply:                                                                (U) describe the nature of the withheld documents, communications, or
     (i) ./\t any ti.me, on notic.e to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the comt for the district where compliance is requ ired for an             privileged or pmtected, will enable the parties to assess the claim.
order compelling production or inspection.                                            (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the         subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from       trial-preparation material, the person making the claim may notify any party
significant expense resulting from comp liance.                                     that received the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                              information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                        infonuation if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonab le time to comply;                               present the infonnation under sea l to the court for the district where
     (ii) requires a person to comply beyond the geographica l limits               compliance is requ ired for a determination of the claim. The person who
specified in Rule 45(c);                                                            produced the information must preserve the information until the cla im is
     (iii) requires disclosure of privileged or other protected matter, if no       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                        (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a               The court for the district where compliance is required- and also, after a
subpoena, the court for the district where compliance is required may, on           motion is transferred, the issuing court- may hold in contempt a person
motion, quash or modify the subpoena if it requires:                                who, having been served, fails without adequate excuse lO obey the
      (i) disclosing a trade secret or other confidential research,                 subpoena or an order related to it.
development, or commercial infonnation; or



                                         for access to subpoena materials, see Fed. R. Civ. P. 45(a) Corruuittee Note (20 13).
